Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 1 of 24 Page ID #:15




                    Exhibit 1
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 2 of 24 Page ID #:16
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 3 of 24 Page ID #:17
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 4 of 24 Page ID #:18
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 5 of 24 Page ID #:19
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 6 of 24 Page ID #:20
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 7 of 24 Page ID #:21
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 8 of 24 Page ID #:22
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 9 of 24 Page ID #:23
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 10 of 24 Page ID #:24
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 11 of 24 Page ID #:25
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 12 of 24 Page ID #:26
      Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 13 of 24 Page ID #:27




Reg. No. 6,201,702         Wahlburgers I, LLC (MASSACHUSETTS LIMITED LIABILITY COMPANY)
                           350 Lincoln Street, Suite 2501
Registered Nov. 17, 2020   Hingham, MASSACHUSETTS 02043

                           CLASS 9: Downloadable mobile applications for providing a customer loyalty program, and
Int. Cl.: 9                means to earn and use loyalty points, view special offers, order food, and locate stores
Trademark                  FIRST USE 9-30-2019; IN COMMERCE 9-30-2019

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 4328948, 4589473, 4794363

                           SER. NO. 88-605,840, FILED 09-05-2019
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 14 of 24 Page ID #:28

    REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

 WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
        DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


 Requirements in the First Ten Years*
 What and When to File:


     • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th
       and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted,
        the registration will continue in force for the remainder of the ten-year period, calculated from the
        registration date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


     • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and
       an Application for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C.
        §1059.


 Requirements in Successive Ten-Year Periods*
 What and When to File:

     • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*

 Grace Period Filings*

 The above documents will be accepted as timely if filed within six months after the deadlines listed above
 with the payment of an additional fee.

 *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
 an extension of protection to the United States under the Madrid Protocol must timely file the Declarations of
 Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
 (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
 date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
 those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
 registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
 underlying international registration at the International Bureau of the World Intellectual Property
 Organization, under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of
 protection, calculated from the date of the international registration. See 15 U.S.C. §1141j. For more
 information and renewal forms for the international registration, see http://www.wipo.int/madrid/en/.

 NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
 USPTO website for further information. With the exception of renewal applications for registered
 extensions of protection, you can file the registration maintenance documents referenced above online
 at http://www.uspto.gov.

 NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
 owners/holders who authorize e-mail communication and maintain a current e-mail address with the
 USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
 Electronic Application System (TEAS) Correspondence Address and Change of Owner Address
 Forms available at http://www.uspto.gov.




                                          Page: 2 of 2 / RN # 6201702
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 15 of 24 Page ID #:29
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 16 of 24 Page ID #:30
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 17 of 24 Page ID #:31
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 18 of 24 Page ID #:32
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 19 of 24 Page ID #:33
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 20 of 24 Page ID #:34
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 21 of 24 Page ID #:35
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 22 of 24 Page ID #:36
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 23 of 24 Page ID #:37
Case 5:24-cv-01545 Document 1-1 Filed 07/24/24 Page 24 of 24 Page ID #:38
